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                 EXHIBIT 5
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      4/26/'2JJ18                                                              My gHire- Application ID: 419786247




      L9 Technical Director, Office of the CTO (EMEA) - London

      New hire                                                                      Candidate summary
      Internal job title     Distinguished Technical Solutions                      From recruiter Rachel Quirk and lead Dave Beuerlein
                             Consultant - 5578
                                                                                    This candidate is an L9 Director Technical Solutions Consultant for
      Cost center            GCP OCTO - 673                                         the Office of the CTO, reporting to Will Grannis

      Location               UK-LON-BEL
      Reporting chain
      Sundar Pichai > Diane Greene> Brian Stevens> Will Grannis>




      Education

      SCHOOL                                          DEGREE                                                                  TENURE          GRADUATED     GPA



                                                      Post Doc, Strategic Communication                                       4.9 years

                                                      Masters of Arts, Master of Arts                                         5.9 years

                                                      Bachelor of Arts, Journalism and Mass Communications                    4.9 years



      Work history

      COMPANY                   POSITION                                                                              TENURE              WHEN




      Assessments



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